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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                             Chapter 11

        96 Wythe Acquisition LLC                                  Case no. 21-22108

                                    Debtor.
--------------------------------------------------------x
                                      NOTICE OF PRESENTMENT

       PLEASE TAKE NOTICE, PLEASE TAKE NOTICE under Bankruptcy Rules 1007 and
the Local Rules of this Court, the undersigned will present the attached proposed order to the
Honorable Robert D. Drain, United States Bankruptcy Judge, at the United States Bankruptcy
Court, 300 Quarropas Street, White Plains, NY 10601−5008 for signature on September 20,
2021 at 10:00 a.m.

        PLEASE TAKE FURTHER NOTICE that unless a written objection to the proposed
order, with proof of service, is filed with the Clerk of the Court at least three days before the date
of presentment, there will not be a hearing and the order may be signed.

        PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed, a hearing
will be held on a date at time to be announced. The moving and objecting parties are required to
attend the hearing, and failure to attend in person or by counsel may result in relief being granted
or denied upon default.

        PLEASE TAKE FURTHER NOTICE that the ECF docket number to which the filing
relates shall be included in the upper right-hand corner of the caption of all objections.

Dated: New York, New York
       August 27, 2021
                                                            BACKENROTH FRANKEL & KRINSKY,
                                                            LLP

                                                     By:    s/ Mark Frankel
                                                            800 Third Avenue
                                                            New York, New York 10022
                                                            (212) 593-1100
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                          Chapter 11

        96 Wythe Acquisition LLC                                       Case no. 21-22108

                                    Debtor.
--------------------------------------------------------x

 APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT
  AND RETENTION OF GETZLER HENRICH & ASSOCIATES LLC AND HILCO
 REAL ESTATE LLC AS FINANCIAL ADVISOR FOR THE DEBTOR AND DEBTOR
           IN POSSESSION, EFFECTIVE AS OF AUGUST 19, 2021

                 96 Wythe Acquisition LLC, the debtor and debtor-in-possession in the above-

captioned case ("Wythe," or the “Debtor”), as and for its application to retain Getzler Henrich &

Associates LLC and Hilco Real Estate, LLC (“Getzler Henrich”) to provide restructuring

services, respectfully represents as follows:

                                               BACKGROUND

                 1.       On February 23, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition under Chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”). The

Debtor has continued its business as a debtor-in-possession pursuant to Bankruptcy Code

sections 1107(a) and 1108. No trustee or creditors’ committee has been appointed.

                 2.       The Debtor has determined that in order to successfully effectuate a

reorganization, it requires the services of a financial advisor with bankruptcy and restructuring

experience.

                                                JURISDICTION

                 3.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference M-431, dated January 31, 2012
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(Preska, C.J.). This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

               4.      The Debtor seeks to engage Getzler Henrich under an engagement letter, a

copy of which annexed is hereto as Exhibit B (the “Engagement Letter”). Getzler Henrich will

assume the role of financial advisor to assist the Debtor in determining its restructuring

alternatives and developing a Plan of Reorganization, subject to the oversight, guidance, control

and direction of Wythe’s members. The Debtor shall apply to the Bankruptcy Court for

appropriate modification of the order approving this engagement in the event the scope of the

engagement is materially modified.

                                     RELIEF REQUESTED

               5.      By this Application and pursuant to section 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016 and Local Rules 2014-1 and 2016-1, the

Debtor seeks entry of an order, substantially in the form attached hereto as Exhibit C (the

“Order”), authorizing and approving the retention and employment of Getzler Henrich as the

Debtor’s financial advisor effective as of August 19, 2021 in accordance with the terms and

conditions set forth in that Engagement Letter between the Debtor and Getzler Henrich dated as

of August19, 2021, a copy of which is attached hereto as Exhibit A. The Debtors further rely on

the Declaration of Mark Podgainy in Support of the Debtor’s Application for Entry of an Order

Authorizing the Employment and Retention of Getzler Henrich LLC and Hilco Real Estate LLC

as Financial Advisor for the Debtor and Debtor in Possession, Effective as of August 19,

2021(the “Podgainy Declaration”), a true and complete copy of which is attached hereto as

Exhibit A and which is incorporated herein by reference.
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                        GETZLER HENRICH’S QUALIFICATIONS

               6.      Getzler Henrich is one of the oldest and most respected names in middle

market corporate restructuring, assisting companies around the world with an approach that

emphasizes rapid, pragmatic decision making and implementation. Over the past fifty years,

Getzler Henrich has developed a strong track record, assisting both underperforming and healthy

companies in the middle market. Getzler Henrich’s engagements have spanned across a broad

spectrum of industries. Getzler Henrich’s qualifications, including a description of its staffing

and approach in providing services, are more fully set forth in the annexed Podgainy Declaration.

               7.      Getzler Henrich has extensive experience in providing restructuring

consulting services in reorganization proceedings and has an excellent reputation for the services

it has rendered in chapter 11 cases on behalf of debtors and creditors throughout the United

States. The compensation arrangement provided for in this Motion and the Agreement is

consistent with and typical of arrangements entered into by Getzler Henrich and other

restructuring consulting firms with respect to rendering similar services for clients such as the

Debtor. In summary, Getzler Henrich is well qualified and able to represent the Debtors in a cost

effective, efficient, and timely manner, subject to the jurisdiction and supervision of the Court.

               8.      Hilco Real Estate, LLC (“HRE”), a Hilco Global company, is a real estate

services firm dedicated to providing valuation, repositioning and restructuring services for a

company’s real estate assets, both owned and leased. Unlike other property resources with

disposition expertise, HRE professionals are experienced attorneys, accountants, advisors,

owners, developers and executive level consultants as to real property. With a singular focus on


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restructuring services for our client’s real property commitments, HRE’s assignments always

require the optimization of value in the shortest time frame possible.

                                    SCOPE OF SERVICES

               9.      Pursuant to the Engagement Letter, Getzler Henrich has agreed to provide

the Debtor with such financial advisory and consulting services as Getzler Henrich and the

Debtor deem appropriate and feasible in order to advise the Debtor in the course of this Chapter

11 case in connection with the potential restructuring, or financing transactions, including but not

limited to the following:

           a) Assist with the preparation and analysis of restructuring alternatives;

           b) Assist in the development and negotiation of a Plan of Reorganization;

           c) Assist with the analysis and reconciliation of claims against the Debtor, as
              appropriate and required;

           d) Source alternative or additional debt capital, as appropriate and required;

           e) Participate in Court hearings and, if necessary, provide testimony in
              connection with any hearings before the Court; and

           f) Perform such other tasks as appropriate as may reasonably be requested by
              the Debtor’s management or counsel.

               10.     With respect to all such efforts outlined above, Getzler Henrich will

interface with and report in a timely manner to Debtor's management any decisions to be

considered, furnish to the extent possible all financial or other information requested by or on

behalf of management, and attend meetings and report progress on restructuring initiatives and

actions instructed by management. Getzler Henrich will work with other professionals retained

by the Debtors to ensure that work is performed efficiently and without duplication of effort.

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               11.     Should the Debtor request Getzler Henrich perform additional services not

contemplated by the Engagement Letter, the Debtor and Getzler Henrich shall mutually agree, in

advance, upon such services and fees for those services in writing. In the event the additional

services require an amendment to the Engagement Letter, the amendment will be subject to this

Court’s approval upon proper application by the Debtor.

                       GETZLER HENRICH’S DISINTERSTEDNESS

               12.     To the best of the Debtor’s knowledge, information, and belief, other than

as set forth in the Podgainy Declaration filed herewith, Getzler Henrich and Podgainy: (a) have

no connection with the Debtor, its creditors, other parties in interest, the attorneys or accountants

of any of the foregoing, the Office of the United States Trustee for the Southern and Eastern

Districts of New York (the “U.S. Trustee”), or any person employed in the Office of the United

States Trustee; and (b) holds no interest adverse to the Debtor’s estate.

               13.     Getzler Henrich has agreed not to share with any person or firm, the

compensation to be paid for services provided in connection with this Chapter 11 case. As set

forth in the Podgainy Declaration, there is no relationship between Getzler Henrich or Mr.

Podgainy with the Debtor, its creditors, or other parties in interest known to Getzler Henrich.

Based upon such disclosures, the Debtor submits that Getzler Henrich is a “disinterested person”

as that term is defined by section 101(14) of the Bankruptcy Code. If any new material facts or

relationships are discovered or arise, Getzler Henrich will provide the Court with a supplemental

declaration disclosing, among other things, any new potential conflicts between the Debtor, Mr.

Podgainy, or other significant parties in interest.


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                             PROFESSIONAL COMPENSATION

               14.     As set forth in the Podgainy Declaration, the Debtor understands and has

agreed that Getzler Henrich will apply to this Court for allowance of compensation and

reimbursement of expenses in connection with services rendered in this Chapter 11 case in

accordance with the terms of the Engagement Letter, subject to this Court’s approval, and in

compliance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, and any other applicable procedures and orders of this Court.

               15.     Financial advisory fees (“Consulting Fees”) will be billed on an hourly

basis; our standard hourly rates are as follows:

       Principal / Managing Director          $575 - $725 (Mr. Podgainy’s rate is $625)
       Director / Specialists                 $475 - $695
       Associate Professionals                $175 - $475

               16.     In addition, should alternative or additional capital be required, Getzler

Henrich shall have the right – on a non-exclusive basis - to source such capital, whether debt or

equity. Any outreach with regards to the placement of debt or equity, shall require that the

Debtor approve any such lender or investor outreach in advance. In the event that the Debtor

closes a financing with a financing source introduced by Getzler Henrich, Getzler Henrich shall

be entitled to a success fee (“Success Fee”) based on the consummation of such transaction with

an interested party ("Interested Party") introduced to the Debtor by Getzler Henrich, payable in

cash, at the time of the closing of such transaction (a “Financing Transaction”). The Success Fee

is based on the aggregate commitments provided by a lender(s) and the aggregate equity

contributed by an investor(s) (the “Total Consideration”), introduced by Getzler Henrich to the


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Debtor. The Success Fee for the closing of a Financing Transaction shall be .75% of the Total

Consideration received by the Company from an Interested Party. In the event that a third-party

investment banker or broker sources this financing, Getzler Henrich shall not be due any success

fee and shall only be paid their hourly Consulting Fees.

               17.     Getzler Henrich is also entitled to a success fee ("Success Fee") if a

Financing Transaction closes within a twelve-month period from the date of the Company’s

signing of this agreement (the “Initial Period”), if Getzler Henrich procured a term sheet at the

time of its introduction. Getzler Henrich is also be entitled to the Success Fee if a Financing

Transaction closes with an Interested Party within twelve months of the end of the Initial Period

where Getzler Henrich procured a term sheet from such Interested Party (whether or not Getzler

Henrich remained in contact with the Interested Party).

               18.     In addition to compensation for professional services rendered by Getzler

Henrich, Getzler Henrich is entitled to seek prompt reimbursement of reasonable out-of-pocket

expenses incurred in connection with the performance of its services under the Engagement

Letter, including, but not limited to air travel, meals, local transportation, lodging, parking,

telephone calls, delivery services, and photocopying.

               19.     The Engagement Letter provides for a retainer to Getzler Henrich in the

amount of $40,000, which will be applied to the final bill. Any amount of this retainer remaining

after application to unpaid fees will be returned to the Debtor.




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               20.     Getzler Henrich shall apply any remaining amounts of its retainer to

allowed post-petition fees and expenses, prior to seeking final payment from the Debtor's cash

flow.

               21.     The Debtor believes that Getzler Henrich’s fees and compensation, as set

forth herein, are reasonable and justified under the circumstances.

               22.     Getzler Henrich’s decision to accept the proposed engagement to provide

restructuring services to the Debtor is contingent upon its ability to be retained in accordance

with the terms and conditions of the Engagement Letter. Getzler Henrich has indicated that it

understands and accepts the terms of the Engagement Letter and that it must be approved by the

Court.

               23.     No prior application has been made for the relief requested herein.

               WHEREFORE, the Debtor respectfully requests that this Court enter the prefixed

order and grant such other and further relief as it deems just and proper.

Dated: New York, New York
       August 27, 2021

                                              BACKENROTH FRANKEL & KRINSKY, LLP
                                              Attorneys for the Debtor


                                              By:     s/Mark Frankel
                                                      800 Third Avenue
                                                      New York, New York 10022
                                                      (212) 593-1100




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                                        EXHIBIT “A”
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------x

In re                                                       Chapter 11
        96 Wythe Acquisition LLC                            Case no. 21-22108
                            Debtor.

--------------------------------------------------------x

 DECLARATION OF SARAH BAKER IN SUPPORT OF DEBTOR’S APPLICATON
FOR ENTRY OF AN ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF
 GETZLER HENRICH & ASSOCIATES LLC AND HILCO REAL ESTATE LLC AS
   FINANCIAL ADVISOR FOR THE DEBTOR AND DEBTOR IN POSSESSION,
                  EFFECTIVE AS OF AUGUST 19, 2021

        I, Sarah Baker, hereby declare under penalty of perjury as follows:

        1.       I am Vice President and Assistant General Counsel of Hilco Trading, LLC, the

parent company and managing member of Hilco Real Estate, LLC (“Hilco”). I submit this

declaration (this “Declaration”) in support of the Debtor’s Application For Entry of an Order

Authorizing Employment and Retention of Getzler Henrich & Associates LLC and Hilco Real

Estate LLC as Financial Advisor for the Debtor and Debtor In Possession, Effective As of August

19, 2021 (the “Application”).1 I am authorized to make this Declaration on behalf of Hilco and,

as set forth below, on behalf of Hilco’s parent, affiliates and subsidiaries defined below as Hilco

Global. Unless otherwise stated in this Declaration, I have personal knowledge of the facts set

forth herein.

        2.       The facts set forth in my Declaration are based upon my personal knowledge,

information, and belief, and upon records kept in the ordinary course of business that were




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         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
Application.
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reviewed by me or other employees of Hilco or Hilco Global, under my supervision and direction.

If called as a witness, I would testify to the facts set forth in this Declaration.

                                        Hilco’s Qualifications

        1.      I believe that Hilco and the professionals that it employs are uniquely qualified to

advise the Debtor in the matters for which Hilco is proposed to be employed in a cost-effective,

efficient, and expert manner. Hilco is a diversified real estate consulting and advisory firm that

evaluates, restructures, and facilitates the acquisition and disposition of various types of real estate

assets both nationally and internationally. The Debtors seek to retain Hilco in particular because

of Hilco’s substantial experience in real estate restructuring maters. Hilco has an excellent

reputation as a leader in the real estate field and has an experienced team of real estate brokers,

attorneys and analysts.

                                 Engagement of Financial Advisor

        2.      Under the Engagement Letter, Getzler Henrich, in conjunction with Hilco Real

Estate LLC (collectively, the “Financial Advisor”), will assume the role of financial advisor to

assist the Debtor in determining its restructuring alternatives and developing a Plan of

Reorganization, subject to the oversight, guidance, control and direction of the Debtor’s members.

The Debtor shall apply to the Bankruptcy Court for appropriate modification of the order

approving this engagement in the event the scope of the engagement is materially modified.

        3.      The scope of the Financial Advisor’s work will include the following:

                (a)      Assist with the preparation and analysis of restructuring alternatives;
                (b)      Assist in the development and negotiation of a Plan of Reorganization;
                (c)      Assist with the analysis and reconciliation of claims against the Debtor, as
                         appropriate and required;
                (d)      Source alternative or additional debt capital, as appropriate and required;
                (e)      Participate in Court hearings and, if necessary, provide testimony in
                         connection with any hearings before the Court; and

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               (f)      Perform such other tasks as appropriate as may reasonably be requested by
                        the Debtor’s management or counsel.
       4.      It is the intention of the Financial Advisor to seek compensation for services as

described herein and in the Application in accordance with customary practices and in accordance

the applicable provisions of the Bankruptcy Code, and the Bankruptcy Rules, and any other

applicable orders of this Court and guidelines established by the U.S. Trustee.

       5.      The Financial Advisor’s fees will be based on actual hours expended to perform its

services at standard hourly rates established for each employee, as adjusted annually. It is the

customary practice of the Financial Advisor to bill clients for travel time consistent with guidelines

of the jurisdiction. For this jurisdiction, therefore, Financial Advisor will apply a 50% discount

rate to non-working travel time billed. Time entries are recorded in six (6) minute increments.

Fees reflect economies resulting from the use of paraprofessional and support personnel to develop

schedules and analyses, input computer data, perform research, work on fee applications, and other

activities necessary to the efficient administration of a case. Financial Advisor does not include

support services in the Financial Advisor’s overhead for the purpose of establishing billing rates.

Billing rates are generally representative of prevailing market rates, as awarded by other Courts in

similar circumstances, based on the customary compensation charged by comparably skilled

practitioners in bankruptcy and non-bankruptcy engagements.

       6.      Consistent therewith, the Debtor agreed to pay Financial Advisor financial advisory

fees (“Consulting Fees”) and reasonable out-of-pocket expenses incurred by Financial Advisor.

Such expenses include, but are not limited to air travel, meals, local transportation, lodging,

parking, telephone calls, delivery services, and photocopying. Consulting Fees will be billed on

an hourly basis; our standard hourly rates are as follows:

               Principal / Managing Director          $575 - $725 (Mr. Podgainy’s rate is $625)
               Director / Specialists                 $475 - $695

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               Associate Professionals                $175 - $475

       7.      In addition, should alternative or additional capital be required, Financial Advisor

shall have the right – on a non-exclusive basis - to source such capital, whether debt or equity. Any

outreach with regards to the placement of debt or equity, shall require that the Debtor approve any

such lender or investor outreach in advance. In the event that the Debtor closes a financing with a

financing source introduced by Financial Advisor, Financial Advisor shall be entitled to a success

fee (“Success Fee”) based on the consummation of such transaction with an interested party

("Interested Party") introduced to the Debtor by Financial Advisor, payable in cash, at the time

of the closing of such transaction (a “Financing Transaction”). The Success fee is based on the

aggregate commitments provided by a lender(s) and the aggregate equity contributed by an

investor(s) (the “Total Consideration”), introduced by Financial Advisor to the Debtor. The

Success Fee for the closing of a Financing Transaction shall be .75% of the Total Consideration

received by the Debtor from an Interested Party. In the event that a third-party investment banker

or broker sources this financing, Financial Advisor shall not be due any success fee and shall only

be paid their hourly Consulting Fees.

       8.      Financial Advisor is also entitled to a success fee ("Success Fee") if a Financing

Transaction closes within a twelve-month period from the date of the Debtor’s signing of this

agreement (the “Initial Period”), if Financial Advisor procured a term sheet at the time of its

introduction. Financial Advisor is also be entitled to the Success Fee if a Financing Transaction

closes with an Interested Party within twelve months of the end of the Initial Period where

Financial Advisor procured a term sheet from such Interested Party (whether or not Financial

Advisor remained in contact with the Interested Party).




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       9.      The Agreement provides for a retainer to Financial Advisor in the amount of

$40,000, which will be applied to the final bill. Any amount of this retainer remaining after

application to unpaid fees will be returned to the Debtor.

       10.     To the extent that any services outside the scope of the engagement are required or

requested, the extent of these services, and the additional compensation to be paid to Financial

Advisor for such services, shall be agreed upon prior to Financial Advisor beginning to perform

such services. These services will be provided subject to the parties entering into an appropriate

amendment to the Agreement, which shall be subject to Bankruptcy Court approval.

       11.     Subject to Court approval and in accordance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, applicable U.S. Trustee guidelines and local rules, in

addition the aforementioned Success Fee, Financial Advisor will seek payment for compensation

of its Consulting Fees on an hourly basis, plus reimbursement of actual and necessary expenses

incurred by Financial Advisor including legal fees related to this retention application and future

fee applications as approved by the court. Financial Advisor’s customary hourly rates as charged

in bankruptcy and non-bankruptcy matters of this type by the professionals assigned to this

engagement are outlined in the Application for the employment of Financial Advisor. These hourly

rates are adjusted periodically. Financial Advisor shall apply any remaining amounts of its retainer

to allowed post-petition fees and expenses, prior to seeking final payment from the Debtor.

                                   Disinterestedness of Hilco

       12.     Hilco Trading, LLC is the managing member and ultimate parent holding

company of (i) Hilco Real Estate, LLC, (ii) Hilco Real Estate, LLC’s affiliates (the

“Affiliates”), and (iii) Hilco Real Estate, LLC’s and the Affiliates’ subsidiary entities




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(collectively, the “Subsidiaries,” and together with Hilco Trading, LLC, Hilco Real Estate,

LLC, and the Affiliates, “Hilco Global”). I have authority on behalf of Hilco Global.

       13.      In the ordinary course of its business, Hilco Global maintains a database for

purposes of performing “conflicts checks.” The database contains information regarding all of

Hilco Global’s present and past representations and transactions. I obtained a list of the above-

captioned debtor and debtor in possession (collectively, the “Debtor”), certain of the Debtor’s

creditors, and other parties in interest in the above-captioned cases (the “Potential Parties in

Interest”), from the Debtor for purposes of searching the aforementioned database and

determining the connection(s) which Hilco Global has with such entities. The Potential Parties

in Interest list is attached hereto as Schedule 1. Hilco’s search of the aforementioned database did

not identify any connections to the Potential Parties in Interest listed on Schedule 1.

       14.      Except as otherwise set forth herein, to the best of my knowledge, information, and

belief, neither Hilco nor any employee of Hilco (i) is a creditor, equity security holder or an insider

of the Debtor or (ii) is or was, within two years before the Petition Date, a director, officer, or

employee of any of the Debtor. In addition, none of the Hilco professionals expected to assist the

Debtor in this chapter 11 case are related or connected to any United States Bankruptcy Judge for

the Southern District of New York, the U.S. Trustee, or any person employed in the office of the

U.S. Trustee.

       15.      As part of its diverse global activities, Hilco may be involved in numerous cases,

proceedings, and transactions involving many different attorneys, accountants, investment

bankers, and financial consultants, some of whom may represent claimants and parties in interest

in this chapter 11 case. Further, Hilco may have in the past, and may in the future, advised and/or

have been represented by several attorneys, law firms, and other professionals, some of whom may



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be involved in this chapter 11 case. Finally, Hilco may have in the past, and will likely in the

future, be working with or against other professionals involved in this chapter 11 case in matters

wholly unrelated to this chapter 11 case. Based upon my current knowledge of the professionals

involved in this chapter 11 case, and to the best of my knowledge, none of these business

relationships constitute interests adverse to the interests of the Debtor’s estate or of any class of

creditors or equity security holders in matters upon which Hilco is to be employed, and none are

in connection with this Chapter 11 case.

        3.      The Debtor has numerous creditors and relationships with a large number of

individuals and entities that may be parties in interest in this Chapter 11 case. Consequently,

although every reasonable effort has been made to discover Hilco’s connections with the Potential

Parties in Interest, Hilco is unable to state with certainty whether any of its clients or an affiliated

entity of a client holds a claim or otherwise is a party in interest in this Chapter 11 case. If Hilco

discovers any information that is contrary or pertinent to the statements made herein, Hilco will

promptly disclose such information to the Court.

        4.      For the reasons set forth in this Declaration, Hilco believes that it (a) is a

disinterested person as defined in the Bankruptcy Code and (b) does not hold or represent any

interest adverse to the Debtor’s estate.

        5.      The foregoing constitutes the statement of Hilco pursuant to section 504 of the

Bankruptcy Code, and Bankruptcy Rules 2014(a) and 5002.

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      I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

information, knowledge, and belief

 Dated: August 24, 2021                             /s/ Sarah Baker
                                                    Sarah Baker
                                                    Vice-President & Assistant General Counsel
                                                    Hilco Trading, LLC
                                                    Managing Member of Hilco Real Estate, LLC




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                                        SCHEDULE 1

                                 Potential Parties in Interest



Toby Moskovits
Michael Lichtenstein
The Toby Moskovits Family 2012 GST Exempt Trust
Northside Partners LLC
96 W Development LLC
96 Wythe Ave. Inc.
96 Wythe Holdings LLC
96 Wythe Mezz DE LLC
96 Wythe Acquisition LLC
96 Wythe Borrower DE LLC
OES-Williamsburg Hotel LLC
Yechial Lichtenstein
My 2011 Grand LLC
Yoel Goldman
The Schweid Family Irrevocable Trust
The Schweid Shelter Irrevocable Trust
Claire Benedkit
S&B Monsey LLC
Grand Living LLC II
Grand Living LLC
ER 215 Moore Holdings LLC
Northside Seigel LLC
232 Seigel Development LLC
232 Seigel Acquisition LLC
Benefit Street Partners Realty Operating Partnership L.P.
Franklin Templeton
B in Power Inc.
Decorative Home NY Inc
Dynamic Electric
FIA Heritage Holdings
International Tile
KJ Artistic Inc
NYC Department of Finance
OES – Williamsburg Hotel LLC
Velocity Framers

United States Trustee – Region 2 (including Manhattan Office Staff)

William K. Harrington
Linda A. Riffkin
Victor Abriano

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Susan Arbeit
Maria Catapano
Shara Cornell
Danny A. Choy
Benjamin J. Higgins
Nadkarni Joseph
Brian S. Masumoto
Ercilia A. Mendoza
Mary V. Moroney
Richard C. Morrissey
Serene Nakano
Alaba Ogunleye
Ilusion Rodriguez
Andrea B. Schwartz
Paul K. Schwartzberg
Shannon Scott
Sylvester Sharp
Andy Velez-Rivera
Madeleine Vescovacci
Greg M. Zipes




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                       Chapter 11

        96 Wythe Acquisition LLC                            Case no. 21-22108

                                    Debtor.
--------------------------------------------------------x

DECLARATION OF MARK PODGAINY IN SUPPORT OF DEBTOR’S APPLICATON
FOR ENTRY OF AN ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF
 GETZLER HENRICH & ASSOCIATES LLC AND HILCO REAL ESTATE LLC AS
   FINANCIAL ADVISOR FOR THE DEBTOR AND DEBTOR IN POSSESSION,
                  EFFECTIVE AS OF AUGUST 19, 2021


                 Under 28 U.S.C. § 1746, Mark Podgainy, declares under penalty of perjury:

                 1.       I am a managing director of Getzler Henrich & Associates LLC, a Hilco

Global company (either “Getzler Henrich” or the “Firm”). The information included in this

declaration (the “Declaration”) concerning Getzler Henrich is based upon my personal

knowledge. Getzler Henrich has agreed to provide restructuring services to the Debtor in

accordance with the terms and conditions set forth herein, in the Debtor’s Motion to retain the

Firm (the “Motion”) and in the services agreement between the Debtor and Getzler Henrich (the

“Engagement Letter”), attached as Exhibit B to the Motion.

                 2.       Getzler Henrich is one of the oldest and most respected names in middle

market corporate restructuring, assisting companies around the world with an approach that

emphasizes rapid, pragmatic decision making and implementation. Over the past fifty years,

Getzler Henrich has developed a strong track record, assisting both underperforming and healthy

companies in the middle market. Getzler Henrich’s engagements have spanned across a broad

spectrum of industries.
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               3.      I have more than 20 years of experience in operational roles and

turnaround consulting in a variety of industries. My areas of expertise include operations

restructuring, business plan analysis, performance improvement, cash and vendor management,

bankruptcy consulting and interim management services. I have also worked with law firms on

forensic and litigation support assignments in bankruptcy cases. My clients have primarily been

in the consumer products, apparel and textile, food, hospitality, real estate and retail sectors.

               4.      I have extensive experience in the food and hospitality industries,

including line and management positions at Harvey Hotels, Winegardner & Hammons (Holiday

Inn concepts) and Howard Johnson’s Restaurants. My restaurant client list includes KFC, Big

Boy Restaurants, Roadhouse Grill, and Eateries (Garcia’s, Garfield’s and Pepperoni Grill

concepts), among others. I have significant consulting experience in the real estate supply chain.

I have advised hospitality, residential and multifamily real estate companies in workout

situations with their lenders and has served as a Chief Restructuring Officer.

               5.      I have a master’s degree in business administration from Columbia

University and a bachelor’s degree from Cornell University’s School of Hotel Administration.

He is currently a board member of the NYC chapter of the Turnaround Management

Association; of Neighborhood Housing Services of New York City, Inc., a non-profit that

revitalizes underserved neighborhoods by creating and preserving affordable housing and of 520

West 19th Street Condo Association. I am a member of the American Bankruptcy Institute and

the Cornell Hotel Society and have written frequently on distressed mergers and acquisitions,

real estate and related topics for numerous industry trade publications. I am a certified

turnaround professional. In addition, the team at Hilco Real Estate LLC also has extensive
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expertise in valuing and selling a broad range of property types including managing Hilco

projects for a variety of purposes, including disposition, lending support, bankruptcy,

restructuring, , and investment decision-making. Under the Engagement Letter, Getzler Henrich,

in conjunction with Hilco Real Estate LLC, will assume the role of financial advisor to assist the

Debtor in determining its restructuring alternatives and developing a Plan of Reorganization,

subject to the oversight, guidance, control and direction of the Debtor’s members. The Debtor

shall apply to the Bankruptcy Court for appropriate modification of the order approving this

engagement in the event the scope of the engagement is materially modified.

               6.      The scope of Getzler Henrich’s work will include the following:

       a.) Assist with the preparation and analysis of restructuring alternatives;

       b.) Assist in the development and negotiation of a Plan of Reorganization;

       c.) Assist with the analysis and reconciliation of claims against the Debtor, as
           appropriate and required;

       d.) Source alternative or additional debt capital, as appropriate and required;

       e.) Participate in Court hearings and, if necessary, provide testimony in
           connection with any hearings before the Court; and

       f.) Perform such other tasks as appropriate as may reasonably be requested by the
           Debtor’s management or counsel.

               7.      It is the intention of Getzler Henrich and HRE to seek compensation for

services as described herein and in the Application in accordance with customary practices and

in accordance the applicable provisions of the Bankruptcy Code, and the Bankruptcy Rules, and

any other applicable orders of this Court and guidelines established by the U.S. Trustee.



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               8.      Getzler Henrich’s fees will be based on actual hours expended to perform

its services at standard hourly rates established for each employee, as adjusted annually. It is the

customary practice of the Firm to bill clients for travel time consistent with guidelines of the

jurisdiction. For this jurisdiction, therefore, Getzler Henrich will apply a 50% discount rate to

non-working travel time billed. Time entries are recorded in six (6) minute increments. Fees

reflect economies resulting from the use of paraprofessional and support personnel to develop

schedules and analyses, input computer data, perform research, work on fee applications, and

other activities necessary to the efficient administration of a case. Getzler Henrich does not

include support services in the Firm’s overhead for the purpose of establishing billing rates.

Billing rates are generally representative of prevailing market rates, as awarded by other Courts

in similar circumstances, based on the customary compensation charged by comparably skilled

practitioners in bankruptcy and non-bankruptcy engagements.

               9.      Consistent therewith, the Debtor agreed to pay Getzler Henrich financial

advisory fees (“Consulting Fees”) and reasonable out-of-pocket expenses incurred by Getzler

Henrich. Such expenses include, but are not limited to air travel, meals, local transportation,

lodging, parking, telephone calls, delivery services, and photocopying. Consulting Fees will be

billed on an hourly basis; our standard hourly rates are as follows:

       Principal / Managing Director          $575 - $725 (Mr. Podgainy’s rate is $625)
       Director / Specialists                 $475 - $695
       Associate Professionals                $175 - $475

               10.     In addition, should alternative or additional capital be required, Getzler

Henrich shall have the right – on a non-exclusive basis - to source such capital, whether debt or

equity. Any outreach with regards to the placement of debt or equity, shall require that the
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Debtor approve any such lender or investor outreach in advance. In the event that the Debtor

closes a financing with a financing source introduced by Getzler Henrich, Getzler Henrich shall

be entitled to a success fee (“Success Fee”) based on the consummation of such transaction with

an interested party ("Interested Party") introduced to the Debtor by Getzler Henrich, payable in

cash, at the time of the closing of such transaction (a “Financing Transaction”). The Success fee

is based on the aggregate commitments provided by a lender(s) and the aggregate equity

contributed by an investor(s) (the “Total Consideration”), introduced by Getzler Henrich to the

Debtor. The Success Fee for the closing of a Financing Transaction shall be .75% of the Total

Consideration received by the Debtor from an Interested Party. In the event that a third-party

investment banker or broker sources this financing, Getzler Henrich shall not be due any success

fee and shall only be paid their hourly Consulting Fees.

               11.     Getzler Henrich is also entitled to a success fee ("Success Fee") if a

Financing Transaction closes within a twelve-month period from the date of the Debtor’s signing

of this agreement (the “Initial Period”), if Getzler Henrich procured a term sheet at the time of its

introduction. Getzler Henrich is also be entitled to the Success Fee if a Financing Transaction

closes with an Interested Party within twelve months of the end of the Initial Period where

Getzler Henrich procured a term sheet from such Interested Party (whether or not Getzler

Henrich remained in contact with the Interested Party).

               12.     The Agreement provides for a retainer to Getzler Henrich in the amount of

$40,000, which will be applied to the final bill. Any amount of this retainer remaining after

application to unpaid fees will be returned to the Debtor.



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               13.     I communicate continually with clients on the status and results of our

work efforts and interface with other professionals to improve coordination and ensure that we

do not duplicate services rendered by other professionals retained in the case.

               14.     To the extent that any services outside the scope of the engagement are

required or requested, the extent of these services, and the additional compensation to be paid to

Getzler Henrich for such services, shall be agreed upon prior to Getzler Henrich beginning to

perform such services. These services will be provided subject to the parties entering into an

appropriate amendment to the Agreement, which shall be subject to Bankruptcy Court approval.

               15.     Subject to Court approval and in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, applicable U.S. Trustee guidelines

and local rules, in addition the aforementioned Success Fee, Getzler Henrich will seek payment

for compensation of its Consulting Fees on an hourly basis, plus reimbursement of actual and

necessary expenses incurred by Getzler Henrich including legal fees related to this retention

application and future fee applications as approved by the court. Getzler Henrich’s customary

hourly rates as charged in bankruptcy and non-bankruptcy matters of this type by the

professionals assigned to this engagement are outlined in the Application for the employment of

Getzler Henrich. These hourly rates are adjusted periodically. Getzler Henrich shall apply any

remaining amounts of its retainer to allowed post-petition fees and expenses, prior to seeking

final payment from the Debtor.

               16.     To the best of my knowledge and belief, insofar as I have been able to

ascertain after due inquiry, and as is disclosed herein, none of the managing directors or

employees of Getzler Henrich is related to the Debtor, its creditors, other parties in interest, the
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United States Trustee for the Southern District of New York or anyone employed in the Office of

the United States Trustee for the Southern District of New York, or holds or represents any

interest adverse to any such party except that Getzler Henrich and myself are connected to the

Debtors by virtue of Getzler Henrich’s Engagement Letter. To the extent Getzler Henrich may

represent, or have represented, any other of the Debtor's creditors or other parties in interest or

interests adverse to such creditors or other parties in interest, such representation has been or is

in matters unrelated to this Chapter 11 Case.

               17.     In connection with the preparation of this Declaration, Getzler Henrich

conducted a review of its professional contacts with the Debtor, its affiliates and other interested

parties identified on a list provided to Getzler Henrich by the Debtor’s counsel in this Chapter 11

Case (the “Interested Party List”). The Interested Party List included, among others, the

following parties: the Debtor and its affiliates, the Debtor's creditors as set forth in the Debtor's

schedules, parties that have filed a notice of appearance in this case, the Bankruptcy Judges for

the Southern District of New York, the Clerk of Court for the Southern District of New York,

and United States Trustee for the Southern District of New York.

               18.     Getzler Henrich may have worked with or opposite law firms that have

appeared or may appear in this case on unrelated matters in unrelated cases.

               19.     Getzler Henrich ran the Interested Party List through the Getzler Henrich

relationship database, a computer database containing names of individuals and entities that are

present or recent former clients of Getzler Henrich. Getzler Henrich then reviewed the results of

the search. Pursuant to the results of the conflicts search, I represent that none of the services

that were or will be provided in the course of other engagements (a) is connected in any way to
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this Chapter 11 Case, (b) will impact or conflict with the rights of the Debtors in this Chapter 11

Case, or (c) will compromise Getzler Henrich’s ability to provide services in this Chapter 11

case.

                20.     It should be understood that Getzler Henrich’s present or former clients

and their affiliates, officers, directors, principal shareholders, and their respective affiliates may

have had relationships with parties in interest in this case of which Getzler Henrich was not

informed or, subsequent to the performance of Getzler Henrich’s services, may have developed

relationships with such parties of which Getzler Henrich, and I are unaware.

                21.     To the best of Getzler Henrich’s knowledge and belief, none of Getzler

Henrich’s current or former clients (including their affiliates, officers, directors, principal

shareholders, and their respective affiliates) is connected to the entities listed below, other parties

in interest herein or interests adverse to such parties.

                22.     The Debtor first engaged Getzler Henrich pursuant to that certain

engagement letter dated August 19, 2021, to provide financial advisory service and intends to

perform such services from the date of its engagement.

Dated: New York, New York
       August 20, 2021
                                                                s/Mark Podgainy_____________




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                                        EXHIBIT “B”

                                     (Engagement Letter)
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  August 19, 2021

  Toby Moskovits
  Michael Lichtenstein
  96 Wythe Acquisition LLC
  679 Driggs Avenue
  Brooklyn, NY 11211

  Via e-mail: toby@heritage-equity.com
               nycdevmanager@gmail.com

  Dear Ms. Moskovits and Mr. Lichtenstein

  Thank you for your interest in retaining the services of Getzler Henrich & Associates LLC
  and Hilco Real Estate, LLC (collectively, “Getzler Henrich”). We appreciate the opportunity
  to work with 96 Wythe Acquisition LLC and its subsidiaries or affiliates, if any (collectively,
  “Wythe” or “Company”) to provide financial advisory services.

  OUR SERVICES

  Financial advisory services include turnarounds and workouts, interim and crisis
  management, bankruptcy advisory, financial restructuring and forensic/litigation support.
  We also assist companies in achieving operational excellence through process
  improvement/ LeanSigma, supply chain solutions, sales and marketing effectiveness,
  technology advisory and transaction advisory services. Albeit not all Getzler Henrich’s
  capabilities are required in this case, our breadth of services is briefly summarized on our
  website www.getzlerhenrich.com.

  OUR FIRM
  Getzler Henrich & Associates, a Hilco Global Company, is one of the oldest and most
  respected names in middle- market corporate restructuring, assisting companies around
  the world with an approach that emphasizes rapid, pragmatic, decision-making and
  implementation. Over more than fifty years, Getzler Henrich has developed a strong track
  record, assisting both underperforming and healthy companies in the middle market. We
  have a demonstrated ability to generate realistic solutions to challenges confronting
  businesses or their creditors, and to helping companies improve their operations.
  Engagements have spanned a broad spectrum of industries. Executing solutions with
  speed, competence and integrity, we adapt our approach to the precise needs of each
  individual client and make practical proposals to address specific issues.

  Hilco Real Estate, LLC
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  Hilco Real Estate, LLC, a Hilco Global company, is a real estate services firm dedicated to
  providing valuation, repositioning and restructuring services for a company’s real estate
  assets, both owned and leased. Unlike other property resources with disposition expertise,
  HRE professionals are experienced attorneys, accountants, advisors, owners, developers
  and executive level consultants as to real property. With a singular focus on restructuring
  services for our client’s real property commitments, HRE’s assignments always require the
  optimization of value in the shortest time frame possible.

  OUR PEOPLE
  Assignments are always managed with a proactive, results-oriented approach. We believe
  that to provide valuable guidance and advice to our clients, our people must have first-
  hand experience running a business. Therefore, prior to joining the firm, each team leader
  at Getzler Henrich has gained valuable experience managing companies, ranging from top
  executive positions at middle market companies to senior management positions at major
  divisions of multinationals.

  The engagement team will be led by Mark Podgainy and may include other Getzler Henrich
  professionals as appropriate and required, and upon mutual consent.

  Mark D. Podgainy, managing director, has more than 20 years of experience in
  operational roles and turnaround consulting in a variety of industries. His areas of
  expertise include operations restructuring, business plan analysis, performance
  improvement, cash and vendor management, bankruptcy consulting and interim
  management services. He has also worked with law firms on forensic and litigation support
  assignments in bankruptcy cases. His clients have primarily been in the consumer
  products, apparel and textile, food, hospitality, real estate and retail sectors.

  Mark has extensive experience in the food and hospitality industries, including line and
  management positions at Harvey Hotels, Winegardner & Hammons (Holiday Inn concepts)
  and Howard Johnson’s Restaurants. His restaurant client list includes KFC, Big Boy
  Restaurants, Roadhouse Grill, and Eateries (Garcia’s, Garfield’s and Pepperoni Grill
  concepts), among others. Mark has significant consulting experience in the real estate
  supply chain. He has advised hospitality, residential and multifamily real estate companies
  in workout situations with their lenders and has served as a Chief Restructuring Officer.

  Mark has a master’s degree in business administration from Columbia University and a
  bachelor’s degree from Cornell University’s School of Hotel Administration. He is currently
  a board member of the NYC chapter of the Turnaround Management Association; of
  Neighborhood Housing Services of New York City, Inc., a non-profit that revitalizes
  underserved neighborhoods by creating and preserving affordable housing and of 520
  West 19th Street Condo Association. He is a member of the American Bankruptcy Institute
  and the Cornell Hotel Society and has written frequently on distressed mergers and
  acquisitions, real estate and related topics for numerous industry trade publications. He
  is a certified turnaround professional.

  Adam Zimmerman, managing director, has been with Hilco Global for over 12 years at
  Hilco Real Estate Appraisal; he joined Hilco Real Estate (HRE) in 2021 to provide advanced
  valuation (BOV), yield analysis, disposition support and advisory for HRE’s client base of
  investors, private equity, note and asset sales and bankruptcy real estate practitioners.
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                                                                           Mr. Michael Lichtenstein
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  Adam has extensive executive expertise in valuing and selling a broad range of property
  types. Adam’s experience includes managing Hilco projects for a variety of purposes
  including disposition, lending support, bankruptcy, restructuring, financial accounting and
  investment decision-making. Income methodologies include DCF (Excel) and Argus
  expertise. He has also worked across the U.S. in the capacity of an expert witness and is
  actively involved in business development, management and staff training. One of Adam’s
  valuation specialties includes Healthcare (hospitals, assisted living, skilled nursing, urgent
  care, dialysis facilities and medical office buildings) and Hotels (flagged hotels, boutique
  hotels and hotel/water (entertainment), golf and resort properties). His expertise extends
  to tangible and intangible market value, real estate focused market analysis, valuation for
  both closed or distressed properties and fully operating and stabilized assets.

  Adam is a Designated Member of the Appraisal Institute (MAI). He holds Certified General
  Real Estate Appraiser licenses in the states of Illinois, Arizona, Texas, Georgia, New York
  and Pennsylvania. He earned his Bachelor of Arts in Journalism at the University of Kansas.

  OUR UNDERSTANDING AND SCOPE

  The Company, which owns and operates The Williamsburg Hotel in Brooklyn, filed a
  Chapter 11 petition in February 2021 and is now seeking to formulate a plan to exit from
  bankruptcy. To that end, we understand the Company desires Getzler Henrich to provide
  financial advisory services to assist in determining its restructuring alternatives and
  developing a Plan of Reorganization. Upon adoption of a resolution/appointment by the
  Board of Directors (the “Board”) of Wythe, Getzler Henrich will assume the role of Financial
  Advisor of the Company and shall serve in that capacity subject to the oversight, guidance,
  control and direction of Wythe’s management and Board. The Company shall apply to
  the Bankruptcy Court for appropriate modification of the order approving this engagement
  in the event the scope of the engagement is materially modified.

  The scope of Getzler Henrich’s work will include the following:

     •   Assist with the preparation and analysis of restructuring alternatives;

     •   Assist in the development and negotiation of a Plan of Reorganization;

     •   Assist with the analysis and reconciliation of claims against the Debtors, as
         appropriate and required;

     •   Source alternative or additional debt capital, as appropriate and required;

     •   Participate in Court hearings and, if necessary, provide testimony in connection
         with any hearings before the Court; and

     •   Perform such other tasks as appropriate as may reasonably be requested by the
         Debtor’s management or Company counsel.

  With respect to all such efforts outlined above, Getzler Henrich will interface with and
  report in a timely manner to management and the Board any decisions to be considered,
  furnish to the extent possible all financial or other information requested by or on behalf
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  of management and the Board, and attend meetings and report progress on restructuring
  initiatives and actions instructed by management and the Board. Getzler Henrich will work
  with other professionals retained by the Debtors to ensure that work is performed
  efficiently and without duplication of effort. Moreover, to the extent the Company has
  resources with capacity and capability to work with and under the guidance of Getzler
  Henrich, we welcome the opportunity to reduce the bankruptcy’s administrative cost.

  FEE STRUCTURE

  Consulting Fees

  Getzler Henrich will bill Wythe for financial advisory fees (“Consulting Fees”) and
  reasonable out-of-pocket expenses incurred by Getzler Henrich. Such expenses include,
  but are not limited to air travel, meals, local transportation, lodging, parking, telephone
  calls, delivery services, and photocopying.

  Consulting Fees will be billed on an hourly basis; our standard hourly rates are as follows:

         Principal / Managing Director                      $575 - $725
         Director / Specialists                             $475 - $695
         Associate Professionals                            $175 - $475

  More specifically, Mark Podgainy’s hourly rate is $625. Billing rates for additional
  professionals, should they be required for this engagement, will be at standard hourly
  rates.
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  Success Fee

  In addition, should alternative or additional capital be required, Getzler Henrich shall have
  the right – on a non-exclusive basis - to source such capital, whether debt or equity. Any
  outreach with regards to the placement of debt or equity, shall require that the Company
  approve any such lender or investor outreach in advance. In the event that the Company
  closes a financing with a financing source introduced by Getzler Henrich, Getzler Henrich
  shall be entitled to a success fee (“Success Fee”) based on the consummation of such
  transaction with an Interested Party introduced to the Company by Getzler Henrich,
  payable in cash, at the time of, as part of, and as a condition of the closing of such
  transaction (a “Financing Transaction”). The Success fee is based on the aggregate
  commitments provided by a lender(s) and the aggregate equity contributed by an
  investor(s) (the “Total Consideration”), introduced by Getzler Henrich to the Company.
  The Success Fee for the closing of a Financing Transaction shall be .75% of the Total
  Consideration received by the Company from an Interested Party. In the event that a
  third-party investment banker or broker sources this financing, Getzler Henrich shall not
  be due any success fee and shall only be paid their hourly Consulting Fees.

  Getzler Henrich shall be entitled to the Success Fee if a Financing Transaction closes within
  a twelve-month period from the date of the Company’s signing of this agreement (the
  “Initial Period”), if Getzler Henrich procured a term sheet at the time of its introduction.
  Getzler Henrich shall also be entitled to the Success Fee if a Financing Transaction closes
  with an Interested Party within twelve months of the end of the Initial Period where Getzler
  Henrich procured a term sheet from such Interested Party (whether or not Getzler Henrich
  remained in contact with the Interested Party).

  Getzler Henrich does not guarantee that it can or will locate an Interested Party to
  consummate a Financing Transaction, and the Company acknowledges that the likelihood
  of a successful effort to consummate a Financing Transaction is uncertain. The Company
  may participate actively in any negotiations with the various prospective Interested Parties
  to the extent the Company deems necessary.

  The Company shall promptly file a motion under section 327 and 328 of the Bankruptcy
  Code (the “Retention Motion”), in form and substance reasonably acceptable to Getzler
  Henrich, authorizing the Company’s entry into this engagement agreement, which the
  Company agrees to use its reasonable efforts to obtain (the “Retention Order”). The
  Company will use its reasonable efforts to ensure that such Retention Order shall
  specifically provide that: (i) Getzler Henrich is being retained pursuant to sections 327
  and 328 of the Bankruptcy Code by the Company and is authorized to commence its
  services as of the date of this engagement agreement; (ii) the payment of all fees and
  reimbursement of expenses hereunder to Getzler Henrich shall be free and clear of all
  liens, claims and encumbrances; and (iii) all such fees and expenses due and owing to
  Getzler Henrich hereunder shall constitute allowed administrative expenses under section
  503(b)(1), with the priority specified in section 507(a) of the Bankruptcy Code. In addition
  to the above, contemporaneously with the filing of the Retention Motion, the Company
  shall file a motion to use cash collateral with the Bankruptcy Court, which motion shall
  include a budget expressly providing for the payment of Getzler Henrich’s fees and
  expenses due hereunder (the “Cash Collateral Order”). Getzler Henrich’s agreement to
  provide the services set forth herein is expressly conditioned upon the Bankruptcy Court
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  entering the Cash Collateral Order. In the event the Bankruptcy Court does not enter the
  Cash Collateral Order, in form and substance reasonably acceptable to Getzler Henrich,
  this engagement letter shall be terminated without Getzler Henrich incurring any liability,
  penalty, or financial penalty to any party. Company acknowledges that it will pay Getzler
  Henrich in accordance with orders of the Bankruptcy Court allowing such fees and
  reimbursement of such expenses. If the Company fails to do so, Getzler Henrich reserves
  the right to cease work until the Company complies with such order.

  Except as disclosed to the Company and described in a Getzler Henrich Bankruptcy Court
  retention affidavit, Getzler Henrich confirms that none of its principals or professional staff
  have any financial interest or business connection with the Company, and Getzler Henrich
  is aware of no conflicts in connection with this Agreement.

  We will strive to perform services in a most expeditious and comprehensive fashion, which
  will be dependent in part on the quality, sophistication and availability of the Company’s
  existing systems, personnel, processes and reporting procedures and the Company’s
  ability to provide all required financial and operational information and data in a timely
  fashion and in the required format. We will communicate the project status and direction
  routinely and immediately identify any issues and/or roadblocks that could impact the
  project’s cost or timeline. We strongly emphasize employing a collaborative approach
  with constant communication. Travel time is billed at 50% of the hourly rate. Hourly rates
  are revised periodically. We will notify you of any such changes to our rates. Note that
  we do not provide assurance regarding the outcome of our work and our fees will not be
  contingent on the results of such work.

  To the extent that any services outside the scope of this engagement are required or
  requested, the extent of these services, and the additional compensation to be paid to
  Getzler Henrich for such services, shall be agreed upon prior to Getzler Henrich beginning
  to perform such services. These services will be provided subject to our entering into an
  appropriate amendment to this letter, which, if applicable, may be subject to bankruptcy
  court approval.

  The Company will, on the signing of this letter, pay Getzler Henrich a retainer in the
  amount of $40,000, which will be applied to the final bill. Should this retainer be
  insufficient because of a change in circumstances, Getzler Henrich reserves the right to
  request, and the Company agrees to pay, a retainer increase. Any amount of this retainer
  remaining after application to unpaid fees and expenses will be returned to the Company.
  Notwithstanding anything to the contrary contained in this paragraph, Getzler Henrich will
  be entitled to retain the unused portion of the retainer, if any, upon a showing by motion
  to the Bankruptcy Court, on appropriate notice, that performance to Getzler Henrich by
  the Company remains due under the indemnification obligations under this engagement
  letter.

  TERMS OF ENGAGEMENT

  The Terms and Conditions and Definitions are set forth in Annex I and Annex II shall
  govern this engagement, except to the extent inconsistent with or superseded by the
  express terms of this letter or any court order approving this engagement.
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  All notices, requests, consents and other communications hereunder to Getzler Henrich
  shall be deemed to be sufficient if contained in a written instrument delivered in person
  or duly sent by certified mail, postage prepaid; by an overnight delivery service, charges
  prepaid; or by confirmed telecopy; addressed to Getzler Henrich at the address set forth
  below or such other address as may hereafter be designated in writing:

         Getzler Henrich & Associates LLC
         295 Madison Avenue, 20th Floor
         New York, NY 10017
         Attention: Mark D. Podgainy
         Facsimile: 212-697-4812

  This Engagement Letter contains the entire agreement among the parties relating to the
  subject herein. Any modification or other changes to the terms contained herein, including
  Annex I, must be in writing and signed by the parties hereto to be enforceable.

  If the foregoing is in accordance with our understanding, please sign the attached copy
  and forward it to our office. In addition, the retainer and future payments may be wired
  to Getzler Henrich & Associates LLC c/o JP Morgan Chase Bank, account # 733687336,
  routing/ABA # 021 0000 21.


  Sincerest regards,

  GETZLER HENRICH & ASSOCIATES LLC




   By:                                                  Dated: ________________
                Mark D. Podgainy
                Managing Director


  HILCO REAL ESTATE, LLC



                                                                August 19, 2021
   By:                                                  Dated: ________________
                Sarah Baker
                VP & AGC, Managing Member
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  AGREED TO AND ACCEPTED BY:

  96 Wythe Acquisition LLC (and its subsidiaries and affiliates)


  Accepted by: _________________________________

  Dated:        _________________________________

  Print Name: _________________________________

  Title:       __________________________________
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                                         ANNEX I
                                 Terms and Conditions

            1.        Access to Company Personnel and Information.

                         (a)      The Company agrees to make available to Getzler Henrich all of the Company's financial and
  operational information and data as requested by Getzler Henrich (all such information so furnished being the “Information”)
  and agrees to permit discussions with Company personnel that Getzler Henrich reasonably requests in connection with the
  services performed by Getzler Henrich under this Agreement. The Company will provide Getzler Henrich with full access to all
  Company personnel, books, and records, including those of the Company’s attorneys (subject to such safeguards as may be
  necessary to preserve applicable attorney client privileged communications) and other agents and third-party representatives.
  The Company represents and warrants to Getzler Henrich that, except as disclosed to Getzler Henrich in writing, all Information
  provided or made available to Getzler Henrich by the Company, its directors, officers, employees, representatives, attorneys
  and agents at any time shall, to the best of the Company’s knowledge: a) be complete and correct in all material respects; and
  b) not contain any untrue statement of material fact or omit to state a material fact necessary in order to make the statements
  not misleading in light of the circumstances under which such statements are made. The Company agrees that it shall notify
  Getzler Henrich if it learns subsequently that any Information provided or made available to Getzler Henrich in accordance with
  this Agreement is incorrect, inaccurate, or otherwise should not be relied upon.

                      (b)      The Company recognizes and confirms that Getzler Henrich (a) will use and rely primarily on the
  Information and on information available from generally recognized public sources in performing the services contemplated
  hereby without having independently verified any of the same and (b) does not assume responsibility for accurateness or
  completeness of the Information and such other information and (c) will not make an appraisal of any of the assets or liabilities
  of the Company. The Company agrees that Getzler Henrich shall have no duty to verify independently the reliability, accuracy
  or completeness of any Information or other information. The Company also agrees that Getzler Henrich shall incur no liabili ty
  to the Company or any individual or other entity that may arise if any Information or other information proves to be unreliable,
  inaccurate or incomplete.

            2.        Confidential Information.

                        (a)      Getzler Henrich shall not publicly disclose the Confidential Information. Further, Getzler Henrich
  will use the Confidential Information only for the purpose of providing services to the Company pursuant to this Agreement.
  “Confidential Information” shall consist only of information that is necessary for Getzler Henrich to perform its services under
  this Agreement, and that is: (i) disclosed to Getzler Henrich by the Company, its directors, officers, employees, representatives
  and agents; (ii) acquired by Getzler Henrich from any inspection of the Company’s property in connection with this Agreement;
  or (iii) information produced by Getzler Henrich, from Confidential Information, in connection with performing services to the
  Company under this Agreement.

                       (b)        Confidential Information shall not include information that is: (i) now or subsequently becomes
  generally known or available by publication, commercial or otherwise, through no fault of Getzler Henrich, its employees, agents,
  or independent contractors; (ii) already known by Getzler Henrich at the time of the disclosure, provided that such information
  did not come from a source known by Getzler Henrich to be bound by a confidentiality agreement with the Company, or from a
  source that was otherwise prohibited from disclosing such information under a contractual, legal or fiduciary obligation;
  (iii) becomes available to Getzler Henrich on a non-confidential basis from a source other than the Company, provided that, to
  Getzler Henrich’s knowledge, the source was not prohibited from disclosing such information to Getzler Henrich under a
  contractual, legal or fiduciary obligation to the Company; (iv) independently developed by Getzler Henrich, its employees,
  agents, or independent contractors primarily from information that is not Confidential Information; (v) information that the
  Company and Getzler Henrich agree, in writing, may be disclosed; (vi) information that is or should be reasonably expected to
  be disclosed as part of Getzler Henrich’s services to the Company; or (vii) information that Getzler Henrich reasonably believes,
  upon advice of its attorneys, must be disclosed pursuant to applicable law, or regulatory or administrative process, including
  stock exchange rules.

                        (c)       Getzler Henrich may disclose Confidential Information: (i) to third parties in connection with the
  performance of its services under this Agreement; or (ii) in connection with any dispute between Getzler Henrich and Company
  under, concerning or arising out of this Agreement. If Getzler Henrich receives any request by order, subpoena, or other leg al
  process to produce any Confidential Information, then unless otherwise prohibited by law or process, if practicable Getzler
  Henrich will seek to provide the Company with timely notice of such request. At the Company’s request and expense, and unless
  otherwise prohibited by law or against a recommendation by Getzler Henrich’s counsel, and without relinquishing or modifying
  Getzler Henrich’s authority to disclose information under the terms of this Agreement, Getzler Henrich will cooperate reasonably
  with the Company in actions that the Company deems necessary or appropriate under the circumstances to protect the
  confidentiality of the Confidential Information.

                       (d)       Getzler Henrich may disclose the Company’s name for purposes of external marketing materials
  and will not otherwise disclose Confidential Information as contemplated under this Section 2.

            3.        No Third-Party Beneficiaries; Use of Work Product. Except as provided with respect to indemnification
  and exculpation, there are no third-party beneficiaries of this Agreement. The Company acknowledges that in connection with
  its engagement Getzler Henrich is acting as an independent contractor with duties owing solely to Company. The Company
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  acknowledges that all information, whether written or oral, created, prepared, or compiled by Getzler Henrich in connection with
  this Agreement is intended solely for the benefit and use of the Company provided, however that Getzler Henrich acknowledges
  and agrees that Company shall utilize Getzler Henrich’s work in negotiations with Company’s creditors. No other individual or
  entity shall be entitled to rely on such information for any purpose. Company agrees that such information shall not be
  reproduced, disseminated, quoted or referred to at any time or in any manner other than to the Company’s board of directors
  or managers, officers, employees, representatives, attorneys, and other agents who have a need to receive such information,
  except upon Getzler Henrich’s prior written consent. Without limiting the foregoing, the Company shall not (and shall not
  authorize any other individual or entity to) use Getzler Henrich’s name or to make available to third parties any information
  created, prepared, or compiled by Getzler Henrich under this Agreement for any reason, including obtaining or extending credit,
  offering or selling securities or other assets, or in any representations to third parties without Getzler Henrich’s prior wr itten
  consent. It is also expressly agreed that notwithstanding the above restrictions upon the Company’s dissemination and use of
  information and work product, Getzler Henrich shall have no responsibility or liability relating directly or indirectly to su ch
  disclosure (whether authorized or unauthorized) by the Company concerning any information created, prepared, or compiled, in
  whole or in part, by Getzler Henrich pursuant to this Agreement, which may be disclosed only after prior written approval by
  Getzler Henrich or as required by applicable law, or regulatory or administrative process, including stock exchange rules. The
  foregoing provisions shall not be construed or interpreted to prohibit references to Getzler Henrich’s engagement under this
  Agreement in required public filings or court documents.

            4.        Future Performance.

                     (a)        The services to the Company under this Agreement may include the preparation of
  recommendations, projections, and other forward-looking statements. The Company acknowledges that numerous factors may
  affect the Company’s actual financial and operational results, and that these results may materially and adversely differ from
  the recommendations and projections prepared, in whole or in part, by Getzler Henrich.

                      (b)       Getzler Henrich does not provide assurance regarding the outcome of its engagement and its fees
  are not contingent on the results of its engagement.

             5.        Independent Contractor Status. Getzler Henrich is an independent contractor under this Agreement,
  and accordingly, this Agreement shall not be an employment agreement. No one on behalf of any Getzler Henrich Party (as
  defined below), nor any employees, agents, or independent contractors thereof, shall be considered to be a director, officer,
  member, manager, partner, control person, employee, representative, agent, or insider of the Company, unless expressly agreed
  to in a writing signed by Company and Getzler Henrich. Getzler Henrich will have exclusive control over the management and
  operation of Getzler Henrich, including hiring and paying the wages or other compensation of its personnel. The Getzler Henrich
  personnel that provide services to the Company under this Agreement may also provide services to other past, present or future
  Getzler Henrich clients. In addition, like other advisory firms, Getzler Henrich may utilize the services of qualified indep endent
  project employees, who work under our direct supervision for us on an ad hoc basis as temporary employees, to assist Getzler
  Henrich with its performance of its services pursuant to this Agreement. This arrangement enables us to reduce our overhead
  and provide cost-effective services to our clients, who benefit from this saving by our reasonable rate structure.

              6.       Appointment as Officer and/or Director. Getzler Henrich understands that the Company’s officers and
  directors are covered by appropriate D&O insurance policies. Should the Company with the consent of Getzler Henrich elect a
  Getzler Henrich Party as an officer or director, the Company shall prior to the effectiveness of such election name such Getz ler
  Henrich Party and Getzler Henrich as additional insureds under these policies and under all such other policies that the Company
  may purchase during Getzler Henrich’s engagement. The Company further agrees to provide evidence of this coverage as soon
  as it is in place. It is mutually understood that naming such Getzler Henrich representative as an officer or director of the
  Company, that such Getzler Henrich representative will remain at all times an employee of Getzler Henrich and not become an
  employee of the Company and will be compensated solely by Getzler Henrich. Upon any cancellation or non-renewal of the D&O
  policy, then the Company shall exercise their rights to extend the claim period for a one-year “discovery period” and shall
  exercise such rights and pay such premiums required thereunder.

             7.        No Fiduciary Relationship. Other than with respect to appointment(s) of a Getzler Henrich Party as an
  officer and/or director of Company in writing (and then only with respect to such Getzler Henrich Party), nothing in this
  Agreement is intended to create, or shall be deemed or construed to create a fiduciary relationship between: (a) the Company,
  including without limitation, the Company’s directors, officers, members, managers partners, control persons, shareholders,
  employees, representatives, agents, or creditors (collectively, the "Company parties" and each a "Company Party"), on the one
  hand; and (b) Getzler Henrich, Getzler Henrich’s affiliates, and the respective directors, officers, members, managers, partners,
  control persons, shareholders, employees, representatives, independent contractors, attorneys, agents, successors or assigns
  of Getzler Henrich or Getzler Henrich affiliates (collectively, the “Getzler Henrich Parties,” and each a “Getzler Henrich Pa rty”)
  on the other hand.

            8.        Indemnity by Company.

                      (a)      The Company agrees to indemnify and hold harmless Getzler Henrich and each other Getzler
  Henrich Party from and against, and Company agrees that no Getzler Henrich Party shall have any liability to the Company or
  any other Company Party for, any losses, claims, damages, obligations, penalties, judgments, awards, settlements, liabilities,
  costs, expenses and disbursements (including reasonable attorneys' and consultants' fees and expenses, investigation fees and
  expenses and court and litigation costs) of any kind or nature whatsoever, known or unknown, foreseen or unforeseen,
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  contingent or otherwise arising out of or in any way, directly or indirectly, related to (i) Company's actions or failures to act
  (including statements or omissions made, or information provided, by it or its agents) or (ii) actions or failures to act by an
  Getzler Henrich Party with Company's consent or in reliance on Company's actions or failures to act, or (B) otherwise related to
  or arising out of any services rendered by Getzler Henrich or any Getzler Henrich Party pursuant to this Agreement or other
  services rendered at the request of Company (including service by an Getzler Henrich Party as an officer, director or in any other
  capacity with Company or any of its affiliates), including costs arising out of any dispute whether or not Getzler Henrich or any
  other Getzler Henrich Party is a party to such dispute and including any claim brought by, on behalf of or in the name of Company
  (collectively, "Covered Losses"); provided, however, that this indemnity and exculpation shall not apply where a court of
  competent jurisdiction has found by a final judgment (not subject to further appeal) that such Covered Losses resulted primarily
  from willful misconduct on the part of Getzler Henrich in the performance of its services under this Agreement. The Company
  also agrees to pay Getzler Henrich a fee at Getzler Henrich's regular hourly rates for it or any other Getzler Henrich Party
  preparing for, or testifying in, any legal proceedings. If multiple claims are brought against any Getzler Henrich Party in any
  action with respect to at least one of which indemnification is permitted under applicable law and provided for under this
  agreement, the Company agrees that any judgment, arbitration award or other monetary award shall be conclusively deemed
  to be based on claims as to which indemnification is provided for and permitted. The Company's obligations hereunder shall be
  in addition to any rights that any Getzler Henrich Party may have at common law or otherwise. Solely for the purpose of enforcing
  this agreement, the Company hereby consents to personal jurisdiction and to service and venue in any court in which any claim
  which is subject to this agreement is brought by or against any Getzler Henrich Party.

                       (b)        If any action, suit, proceeding or investigation or similar item is commenced as to which a Getzler
  Henrich Party is entitled to indemnification hereunder, it shall notify Company with reasonable promptness; provided, however,
  that any failure to so notify Company shall not relieve Company from its obligations hereunder (except to the extent Company
  is materially and adversely affected by such failure to be given notice). Getzler Henrich shall have the right to retain counsel of
  its own choice to represent it, and Company shall pay the reasonable fees, expenses and disbursements of such counsel; and
  such counsel shall to the extent consistent with its professional responsibilities cooperate with Company and any counsel
  designated by Company. Company shall not without written prior consent of Getzler Henrich, settle or compromise any claim
  against Getzler Henrich, or permit a default or consent to the entry of any judgment in respect thereof, unless such settlement,
  compromise or consent includes as an unconditional term thereof, the giving by the claimant to Getzler Henrich of an
  unconditional release from all liability in respect of such claim.

                       (c)       In order to provide for just and equitable contribution, if a claim for indemnification pursuant to
  this Indemnification Agreement is made but is found in a final judgment by a court of competent jurisdiction (not subject to
  further appeal) that such indemnification may not be enforced in such case, even though the express provisions hereof provide
  for the indemnification in such case, then Company, on the one hand, and Getzler Henrich, on the other hand, shall contribute
  to the Covered Losses to which the Indemnified Parties may be subject in accordance with the relative benefits received by
  Company, on the one hand, and Getzler Henrich, on the other hand, and also the relative fault of Company, on the one hand,
  and Getzler Henrich, on the other hand, in connection with the statements, acts or omissions which resulted in such Covered
  Losses and the relevant equitable considerations shall also be considered. Notwithstanding the foregoing, Getzler Henrich shall
  not be obligated to contribute any amount hereunder that exceeds that amount of fees previously received by Getzler Henrich
  from Company.

                        (d)       Neither termination nor completion of the engagement of Getzler Henrich or of this Agreement
  shall affect these indemnification provisions which shall remain operative and in full force and effect and shall be binding upon
  any successors or assigns of Company. Each Getzler Henrich Party is an express third-party beneficiary of the provisions of this
  Section 8.

             9.         Non-Solicitation. For a period of twenty four (24) months after the later of: (a) the completion of all
  services to be provided by Getzler Henrich under this Agreement; or (b) termination of this Agreement, the Company, including
  any affiliates thereof, shall not, directly or indirectly, hire, employ, retain or utilize (other than through Getzler Henric h) the
  services of any current or former employee of Getzler Henrich or independent contractor who provided services under this
  Agreement at any time without the prior written consent of Getzler Henrich. The Company agrees and acknowledges that the
  Getzler Henrich’s remedy at law for any breach of the provisions of this Section would be inadequate and that for any breach of
  such provisions Getzler Henrich will, in addition to such other remedies as may be available to it at law or in equity, be entitled
  to injunctive relief and to enforce its rights by an action for specific performance to the extent permitted by law.

            10.        Joint and Several Liability; Setoff. If the Company consists of one or more entities, then the Company’s
  obligations under this Agreement shall be joint and several obligations of each entity comprising the “Company.” Without limiting
  any other remedy that may be available to Getzler Henrich under this Agreement or applicable law, where the “Company” under
  this Agreement consists of more than one entity, then Getzler Henrich shall have against each such entity a right of setoff
  (notwithstanding any lack of mutuality) under which Getzler Henrich may set off against any claim against Getzler Henrich by
  any entity comprising the Company group, all of the claims that Getzler Henrich may have against any or all of the other entities
  that comprise the Company.

              11.        Limitation of Liability. No Getzler Henrich Party shall be liable to the Company, or any party asserting
  claims on behalf of the Company, except for direct damages found in a final determination to be the direct result of the bad
  faith, self-dealing, intentional misconduct or gross negligence of such Getzler Henrich Party. The Getzler Henrich Parties shall
  not be liable for incidental or consequential damages under any circumstances, even if they have been advised of the possibility
  of such damages. The Getzler Henrich Parties aggregate liability, whether in tort, contract or otherwise, is limited to the amount
  of fees paid for services on this engagement (the “Liability Cap”). The Liability Cap is the total limit of the Getzler Henrich Parties
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  for any and all claims or demands by anyone with respect to this Agreement, or the services provided hereunder, and the Liability
  Cap shall be allocated among all such claimants, as appropriate.



             12.        Attorneys’ Fees and Expenses. The Company shall pay all costs and expenses, including reasonable
  attorneys’ fees and expenses, incurred by Getzler Henrich to enforce this Agreement, including, but not limited to any indemnity
  provision of this Agreement. This obligation to pay Getzler Henrich’s reasonable attorneys’ fees and expenses shall apply whether
  such fees and expenses are incurred during trial or appeal, or in arbitration, a bankruptcy case, or otherwise. If so required,
  Getzler Henrich shall additionally be entitled to reimbursement of reasonable legal expenses associated with any required court
  approval of this Agreement or enforcement of provisions of this Agreement, including, but not limited to, fee applications and
  the defense of any objections thereto. Company shall reimburse Getzler Henrich for all such expenses upon presentation of the
  invoice for the same supported by appropriate documentation.

             13.         Consent; Entire Agreement. In any instance under this Agreement where a party’s consent is permitted
  or required to be given, such consent shall not be withheld unreasonably. This Agreement contains the entire Agreement of the
  parties with respect to its subject matter and supersedes all prior agreements and understandings between the Company and
  Getzler Henrich with respect to such subject matter. The parties agree that all terms of their agreement and understanding are
  embodied in this Agreement, and as modified or supplemented from time to time, but only if such modification or supplement
  is both: (i) in writing, and (ii) signed by all parties. To the extent that any services outside the scope of this engagement are
  required or requested, the extent of these services, and the additional compensation to be paid to Getzler Henrich for such
  services, shall be agreed upon prior to Getzler Henrich beginning to perform such services.

              14.       Choice of Law/Forum. The validity, interpretation and enforcement of this Agreement, matters arising
  out of or related to this Agreement or its making, performance or breach, and related matters shall be governed by the internal
  laws of the State of New York (without reference to choice of law doctrine). Any legal action or proceeding concerning the
  validity, interpretation and enforcement of this Agreement, matters arising out of or related to this Agreement or its making,
  performance or breach, or related matters shall be brought exclusively in the courts of the State of New York in the County of
  New York or of the United States of America for the Southern District of New York, and all parties consent to the exclusive
  jurisdiction of those courts, waiving any objection to the propriety or convenience of such venues. GETZLER HENRICH HEREBY
  AGREES, AND THE COMPANY HEREBY AGREES ON ITS OWN BEHALF, AND, TO THE EXTENT PERMITTED BY APPLICABLE LAW,
  ON BEHALF OF EACH OTHER COMPANY PARTY, TO WAIVE ANY RIGHT TO TRIAL BY JURY WITH RESPECT TO ANY CLAIM,
  COUNTER-CLAIM OR ACTION IN CONNECTION WITH, RELATING TO OR ARISING OUT OF GETZLER HENRICH'S ENGAGEMENT,
  GETZLER HENRICH'S PERFORMANCE THEREOF, OR THIS AGREEMENT.

            15.        Multiple Originals. This Agreement may be executed in any number of counterparts, each of which shall
  be deemed an original, but all of which together shall constitute one and the same document. This Agreement may be executed
  by facsimile signatures or signatures forwarded via email.

             16.       Termination. Either the Company or Getzler Henrich can terminate this agreement upon written notice,
  except for Sections 1 thru 3 and 6 thru 12, which shall survive any termination. Outstanding amounts due Getzler Henrich, if
  any, will be paid promptly upon receipt of a final invoice that will be provided immediately upon notice of termination by the
  Company.
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                                                    ANNEX II

                             DEFINITIONS (FOR THE PURPOSE OF THIS AGREEMENT):

        Senior Debt means funds (i) received or to be received by the Company, or any entity acquired, or
        controlled by, or under common control with the Company, in the form of revolving credit facilities,
        notes, term loans, lines of credit, offering lines, purchase and sale of accounts receivable facilities, or
        any other type of credit facility, for which the Company or any entity acquired, or controlled, by or
        under common control with the Company, is obligated to repay the funds on a fixed schedule with
        interest on the unpaid balance thereof at a fixed interest rate or a floating interest rate, without any
        profit participation or yield enhancement as a return on the repayment of the funds received by the
        Company, or any entity acquired, or controlled by, or under common control with the Company, and
        (ii) for which the lender has a claim to the assets of the Company, or any entity acquired, or
        controlled by, or under common control with the Company, superior or prior to the claim of the
        holders of Subordinated Debt.

        Subordinated Debt means (a) funds (i) received or to be received by the Company, or any entity
        acquired, or controlled by, or under common control with the company, or for which the Company, or
        any entity acquired, or controlled by, or under common control with the Company, is obligated to
        repay the funds on a fixed schedule with interest on the unpaid balance therefor at a fixed interest
        rate or a floating rate, and (ii) for which the lender does not have a senior claim to the assets of the
        Company, or any entity acquired, or controlled by, or under common control with the company, on
        parity with or prior to the claim of the holders of Senior Debt, or (b) funds (i) received or to be
        received by the Company, or any entity acquired, or controlled by, or under common control with the
        company, is obligated to repay the funds on a fixed schedule with interest on the unpaid balance
        thereof at a fixed interest rate or a floating interest rate, and (ii) for which part of the overall return
        to the investor on these funds is anticipated to consist of a participation in the profits of the company
        and/or some other type of income enhancement (whether realized through equity warrants
        conversions of the debt to equity, or otherwise) which has the effect of raising the overall return on
        these funds to the investors above the level that could be realized solely due to the receipt of stated
        interest income.

        Equity shall include, but not be limited to, common stock, preferred stock, convertible stock, and the
        proceeds from any joint venture or similar agreement, including contributions by a joint venture
        partner involving cash, stock, property, plant and equipment or any other assets, asset sale or
        assumption or guaranty of liabilities.
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                                  EXHIBIT “C”

                                (Proposed Order)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                           Chapter 11
         96 Wythe Acquisition LLC                                      Case no. 21-22108
                                    Debtor.
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                              ORDER AUTHORIZING EMPLOYMENT

                 Upon the motion (“Motion”) of the above-captioned debtor (“Debtor”), requesting

authorization to retain Getzler Henrich & Associates LLC and Hilco Real Estate, LLC

(collectively, “Getzler Henrich”), subsidiaries of Hilco Global,, pursuant to the engagement letter

("Engagement Letter") annexed as Exhibit A to the Motion, to provide financial advisory services,

and upon the Declaration of no adverse interest of Mark Podgainy and Sarah Baker, of Getzler

Henrich & Associates LLC and Hilco Real Estate, LLC respectively, and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is ordered that:

                 1.       The Debtor is hereby authorized to engage Getzler Henrich & Associates

LLC and HIlco Real Estate, LLC, divisions of Hilco Global, to provide the Debtor with financial

advisory services subject to the following terms, which apply notwithstanding anything in the

Agreement or the Motion or any exhibits related thereto to the contrary:

                 (a)      In the event the Debtor seeks to alter or expand the scope of the
                          Engagement Letter, a motion to modify the retention shall be filed.

                 (b)      Getzler Henrich shall file with the Court and provide copies to the Office of
                          the United States Trustee for the Southern District of New York (“U.S.
                          Trustee”) and all official committees, a report of staffing on the engagement
                          for the previous month. Such report shall include the names and functions
                          filled of the individuals assigned. All staffing shall be subject to review by
                          the Court in the event an objection is filed.
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               (c)     No principal, employee or independent contractor of Getzler Henrich or its
                       affiliates shall serve as a director of the Debtor during the pendency of the
                       Chapter 11 Case.

               (d)     Getzler Henrich shall file with the Court and provide notice to the U.S.
                       Trustee and all official committees, reports of compensation earned and
                       expenses incurred on a monthly basis. Such reports shall contain summary
                       charts which describe the time incurred and services provided, identify the
                       compensation earned by each executive officer and staff employee provided
                       and itemize the expenses incurred. Time records shall (i) be appended to
                       the reports, (ii) contain detailed time entries describing the task(s)
                       performed, (iii) be organized by project category and (iv) the time entries
                       shall identify the time spent completing each task in six (6) minute
                       increments and the corresponding charge (time multiplied by hourly rate)
                       for each task. All compensation shall be subject to review by the Court in
                       the event an objection is filed.

               (e)     For a period of three years after the conclusion of the engagement, neither
                       Getzler Henrich nor any of its affiliates shall make any investments in the
                       Debtor or the reorganized Debtor, if applicable.

               (f)     Getzler Henrich shall disclose any and all facts that may have a bearing on
                       whether the firm, its subsidiaries and/or any individuals working on the
                       engagement hold or represent any interest adverse to the Debtor, its
                       creditors, or other parties in interest. The obligation to disclose identified in
                       this subparagraph is a continuing obligation.

               (g)     The Debtors are not obligated to reimburse Getzler Henrich for legal
                       counsel.

               2.      All compensation and reimbursement due to, and other rights of Getzler

Henrich in accordance with the Engagement Letter as modified by this Order, including without

limitation indemnification obligations, shall be treated and allowed (subject to the compensation

review procedures identified in this Order) as administrative expenses in accordance with section

503 of the Bankruptcy Code and shall be paid in accordance with the Agreement.

               3.      Getzler Henrich shall apply any remaining amounts of its advance payments

and retainer to allowed post-petition fees and expenses, prior to seeking final payment from the

Debtor’s cash flows.

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               4.     The terms and conditions of this Order are immediately effective and

enforceable upon its entry.

               5.     To the extent there is inconsistency between the terms of the Agreement,

the Motion and this Order, the terms of this Order shall govern.

               6.     The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

               7.     This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: White Plains, New York
       August ___, 2021

                                             ____________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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